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 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12    ANTHONY BOUYER, an                 Case No.: 2:20-cv-11195-AB-JC
13    individual,

14                                           ORDER DISMISSAL WITH
           Plaintiff,                        PREJUDICE
15
      v.
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17    IRPF VALENCIA
      NORTHPARK, L.L.C., a
18    Delaware limited liability
19    company; and DOES 1-10,
      inclusive,
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21         Defendants.
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                         ORDER DISMISSAL WITH PREJUDICE
     Case 2:20-cv-11195-AB-JC Document 19 Filed 04/30/21 Page 2 of 2 Page ID #:65


 1         After consideration of the Joint Stipulation for Dismissal of the entire action

 2   with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and IRPF Valencia
 3
     Northpark, L.L.C (“Defendant”), the Court hereby enters a dismissal with prejudice
 4

 5   of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each party shall

 6   bear his or its own costs and attorneys’ fees.
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 8         IT IS SO ORDERED.
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     DATED: April 30, 2021
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                                      HONORABLE ANDRÉ BIROTTE JR.
12                                    UNITED STATES DISTRICT JUDGE
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                                ORDER DISMISSAL WITH
                                     PREJUDICE
